Exhibit 2
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   Assistant United States Attorney
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 4 Telephone: (559) 497-4000

 5
     Attorneys for Defendant Adam Groff
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 7                               IN THE UNITED STATES DISTRICT COURT

 8                                 EASTERN DISTRICT OF CALIFORNIA

 9
     SYLVIA AHN,                                        CASE NO. 1:22-CV-00586-CDB
10
                                   Plaintiff,           DECLARATION OF CONTRACTING OFFICER
11                                                      NATASHA NGUYEN
                            v.
12
     GEO GROUP, INC., et al.,
13
                                  Defendants.
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            I, Natasha Nguyen, declare as follows:
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            1.     I am a Contracting Officer (CO) with the Department of Homeland Security (DHS),
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     Immigration and Customs Enforcement (ICE), Office of Acquisition Management (OAM). I have held
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     this position since May 2021. I am based in Laguna Niguel, California.
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            2.     As a Contracting Officer for ICE, I administer and manage procurement contracts for
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     commercial products and services.
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            3.     I am responsible for the contract which covers Mesa Verde ICE Processing Center
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     (MVIPC), contract #70CDCR20D00000008, for detention and transportation services.
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            4.     MVIPC is a federal detention facility. The GEO Group, Inc. (GEO) owns and operates
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     MVIPC entirely, pursuant to a contract signed with ICE in 2019. ICE previously awarded a similar
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     contract to GEO in 2015. ICE awarded GEO the contract based on consideration and balancing of the
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     four “performance standards” of the Federal Acquisition Regulation (FAR) and the additional
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     considerations for each of those four performance standards, all of which are enumerated in 48 C.F.R. §
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      DECLARATION OF CONTRACTING OFFICER NATASHA NGUYEN
      NO. 1:22-CV-00586
 1 1.102-2. The contract incorporated twenty-eight attachments, which are all identified and described in

 2 the executed agreement. However, only one attachment—Attachment 19—is relevant to the Motion to

 3 Dismiss that the United States is filing in this matter. Attachment 19 sets forth the Performance Work

 4 Statement for all California-based detention centers including MVIPC, and it governs all aspects of the

 5 relationship between ICE and GEO. A true and accurate copy of the Contract and Attachment 19 are

 6 attached as Exhibits A and B to my Declaration.

 7          5.      During all relevant times and presently, ICE does not own MVIPC or the land on which

 8 MVIPC rests. ICE retains no rights under the Contract to manage MVIPC, supervise GEO’s employees

 9 at MVIPC, or make any changes to MVIPC (such as new construction). ICE also does not operate

10 MVIPC and has no involvement in or authority over MVIPC’s day-to-day operations—GEO employees

11 exclusively run MVIPC’s operations. More specifically:

12               a. Under the Contract, GEO furnishes all equipment, supplies, and services. ICE does not

13                  supply any goods or services to MVIPC.

14               b. GEO employees alone are responsible for detainee safety and security, building and

15                  ground maintenance, sanitation, medical and health services, detainee housing or

16                  activities, detainee discipline, or any other aspects of MVIPC’s day-to-day operations.

17                  ICE has no responsibilities in these regards.

18               c. ICE does not supervise detainees or provide them with any food, resources, or medical

19                  treatment. GEO employees alone are responsible for providing food, resources, and

20                  medical treatment to detainees.

21               d. ICE does not conduct health assessments of detainees upon entry to MVIPC, nor does

22                  ICE recommend any courses of medical treatment, provide any medical treatment, or

23                  respond to medical emergencies of any detainees. All medical screenings (including

24                  arrival screening and infectious disease screening), assessments, and services are

25                  provided through a GEO-contracted medical service, and GEO employees alone decide

26                  how to best ensure that detainees receive all necessary and proper medical treatments and

27                  interventions.

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                                                      2
      DECLARATION OF CONTRACTING OFFICER NATASHA NGUYEN
      NO. 1:22-CV-00586
 1               e. GEO employees alone decide housing arrangements of detainees in all circumstances,

 2                  including normal circumstances and in response to exigent circumstances.

 3               f. No ICE employees supervise GEO employees or assist with running MVIPC.

 4          6.      The Contract reserves ICE’s right to conduct various audits and inspections, but it does

 5 not provide any detailed specifics on how to perform those audits and inspections, nor does it detail how

 6 ICE is to handle any discovered non-compliances or any other federal inspectors. How to perform

 7 audits and inspections are left to the discretion of the auditors/inspectors, whether from ICE or another

 8 federal agency. Similarly, how to handle any discovered non-compliances is left to ICE’s discretion.

 9          7.      After the COVID-19 pandemic began, ICE, in conjunction with the Center for Disease

10 Control and Prevention (CDC), developed guidance and certain requirements for managing the COVID-

11 19 pandemic in federal detention facilities.

12               a. On March 27, 2020, ICE issued a memorandum to all ICE-dedicated facility wardens and

13                  superintendents that provided guidance on COVID-19 management. The Memorandum

14                  referred to the CDC’s interim guidelines for managing COVID-19 in correctional and

15                  detention facilities and the CDC’s recommended steps for handling people exhibiting

16                  COVID-19 symptoms. A true and accurate copy of this Memorandum is attached as

17                  Exhibit C to my Declaration. The Memorandum also is publicly available on ICE’s

18                  website at https://www.ice.gov/doclib/coronavirus/attF.pdf.

19               b. On April 10, 2020, ICE issued its COVID-19 Pandemic Response Requirements (PRR),

20                  which were developed in conjunction with the CDC. The PRR applied to all federal

21                  detention facilities (including privately owned and operated ones like MVIPC). The PRR

22                  created new mandatory requirements and recommendations relating to the COVID-19

23                  pandemic. The PRR supplemented pre-existing disease management requirements under

24                  the Performance-Based National Detention Standards (PBNDS) 2011, which GEO was

25                  and is required to follow under the Contract. A true and accurate copy of the PRR is

26                  attached as Exhibit D to my Declaration. The PRR also is publicly available on ICE’s

27                  website at

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      DECLARATION OF CONTRACTING OFFICER NATASHA NGUYEN
      NO. 1:22-CV-00586
 1                https://www.ice.gov/doclib/coronavirus/eroCOVID19responseReqsCleanFacilities-

 2                v1.pdf.

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           I declare under penalty of perjury under the laws of the United States that the foregoing is true
 4

 5 and correct to the best of my knowledge.

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                                                 NATASHA T Digitally        signed by
                                                                    NATASHA T NGUYEN
 7 Dated: June 15, 2023                                             Date: 2023.06.16 11:26:56
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                                                 ______________________________________
 8
                                                 Natasha Nguyen
 9                                               Contracting Officer
                                                 Office of Acquisition Management
10                                               U.S. Immigration and Customs Enforcement

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      DECLARATION OF CONTRACTING OFFICER NATASHA NGUYEN
      NO. 1:22-CV-00586
Exhibit 2-A
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               ,,  ,, >)- '3? %'
               C-
               ,,  ,, >)- '3? %'
               C-
               ,,  ,,+ >)- '3? %'
               C*
               ,,+  ,, >*) '3? %'
               C*+
               = $%'3 2" C
               #3"&,('#6 &' 3' (
               #3"&,('#6 &' '&# 4  9(F.: :9 


+           :3' (%' '3 ''  ('#6 &'                                                                          ))-
               :"%#%''3 1  2"2
               > ='3?

               '# 3 / '#/#2%&' %3 %' % /D
               -,,,, >-)+ '3? C*
               ,,,, >) '3? C-*
                "'3 




 '#!+!+'*+!                                                                                                      $$ ,#+-
                                                                                                                     67897:13 ; %
                                                                                                                      ,# - '$!
                                                 %                                                %        
  + ,
                                      *  -                                                                                    +
                  

: :9 . 

                                                       &(           "                           
  > ?                                                            > ?                 >?        > ?     >?                       >?
               ,,,, >) '3? C*
               ,,,,+ >) '3? C
               ,,+,, >) '3? C+
               = $%'3 2" C
               #3"&,('#6 &' 3' (
               #3"&,('#6 &' '&# 4  9(F.: :9 


+           '#% %'B ''  ('#6 &'                                                                           ))-
               :"%#%''3 1  2"2 > ='3?

               '# 3 / '#/#2%&' %3 %' % /D
               -,,,, >-)+ '3? C*
               ,,,, >) '3? C-*
               ,,,, >) '3? C*
               ,,,,+ >) '3? C
               ,,+,, >) '3? C+
               = $%'3 2" C
               #3"&,('#6 &' 3' (
               #3"&,('#6 &' '&# 4  9(F.: :9 


           1'% '#3' ''  ('#6 &'                                                                                   -)*)*+
                =6' :"%#%''3 1  2"2
               >+ ='3?

               '# 3 / '#/#2%&' %3 %'
               ,,  ,, >)- '3? %'
               C-
               ,,  ,, >) '3? %'
               C--
               ,,  ,, >) '3? %'
               C
               ,,  ,,+ >) '3? %'
               C+
               ,,+  ,, >)- '3? %'
               C*
               = $%'3 2" C
               #3"&,('#6 &' 3' (
               #3"&,('#6 &' '&# 4  9(F.: :9 


           :3' (%' ''  ('#6 &'                                                                               )+)+
                =6' :"%#%''3 1  2"2 %'
               >* ='3?

               '# 3 / '#/#2%&' %3 %' % /D
                "'3 




 '#!+!+'*+!                                                                                                      $$ ,#+-
                                                                                                                     67897:13 ; %
                                                                                                                      ,# - '$!
                                                 %                                                %        
  + ,
                                      *  -                                                                       *             +
                  

: :9 . 

                                                       &(           "                           
  > ?                                                            > ?                 >?        > ?     >?                       >?
               -,,,, >*)- '3? C*
               ,,,, >) '3? C**
               ,,,, >) '3? C*+
               ,,,,+ >) '3? C*+
               ,,+,, >) '3? C*
               = $%'3 2" C
               #3"&,('#6 &' 3' (
               #3"&,('#6 &' '&# 4  9(F.: :9 


           '#% %'B ''  ('#6 &'                                                                             )+)+
                =6' :"%#%''3 1  2"2 %'
               >  * ='3?

               '# 3 / '#/#2%&' %3 %' % /D
               -,,,, >*)- '3? C*
               ,,,, >) '3? C**
               ,,,, >) '3? C*+
               ,,,,+ >) '3? C*+
               ,,+,, >) '3? C*
               = $%'3 2" C
               #3"&,('#6 &' 3' (
               #3"&,('#6 &' '&# 4  9(F.: :9 


           1'% '#3'  % (% %#B,#%4#%                                                                    *)*-)
               :"%#3

               "#B %'
               C**-

               . 2" ) <"# 4'# B'%#
               = $%'3 2" C
               #3"&,('#6 &' 3' (
               #3"&,('#6 &' '&# 4  9(F.: :9 


           :3' (%'  % (% %#B,#%4#%                                                                  *)*-)
               :"%#3

               "#B %' C**-

               . 2" ) <"# 4'# B'%#
               = $%'3 2" C
               #3"&,('#6 &' 3' (
               #3"&,('#6 &' '&# 4  9(F.: :9 

                "'3 




 '#!+!+'*+!                                                                                                      $$ ,#+-
                                                                                                                     67897:13 ; %
                                                                                                                      ,# - '$!
                                                 %                                                %        
  + ,
                                      *  -                                                                       -             +
                  

: :9 . 

                                                       &(           "                           
  > ?                                                            > ?                 >?        > ?     >?                       >?

           '#% %'B  % (% %#B,#%4#%                                                                *)*-)
               :"%#3

               "#B %' C**-

               . 2" ) <"# 4'# B'%#
               = $%'3 2" C
               #3"&,('#6 &' 3' (
               #3"&,('#6 &' '&# 4  9(F.: :9 


           1'% '#3' '% '' #E #$#%2                                                                                      )
               %' C '# %B 4'# '% ''
               >/ %44 &%='?

               . )
               = $%'3 2" C
               #3"&,('#6 &' 3' (
               #3"&,('#6 &' '&# 4  9(F.: :9 


           :3' (%' '% '' #E #$#%2                                                                                    )
               %' C 4'# 3%B 4'# 3'% ''

               . C)
               = $%'3 2" C
               #3"&,('#6 &' 3' (
               #3"&,('#6 &' '&# 4  9(F.: :9 


           '#% %'B '% '' #E #$#%2                                                                                  )
               %' C 4'# 3%B 4'# 3'% ''

               . C)
               = $%'3 2" C
               #3"&,('#6 &' 3' (
               #3"&,('#6 &' '&# 4  9(F.: :9 


*           1'% '#3' ("#$',%&  B 94$#%3'                                                                             ))

               J. /%&  B 23 / &%  # <'# D#E 4%'3
               "3'# <  8. 2%B ='   %'3 D <" %
               '$ %'3 4#4% %3 D < %44#6% =B <'
               #%& $ // &'# 6 % % &#%& 23 / &% 
               %3 /"3 $ = $%'3 6 % %E #3'#
                "'3 




 '#!+!+'*+!                                                                                                      $$ ,#+-
                                                                                                                     67897:13 ; %
                                                                                                                      ,# - '$!
                                                 %                                                          %        
  + ,
                                      *  -                                                                                              +
                  

: :9 . 

                                                       &(                     "                           
  > ?                                                            > ?                           >?        > ?     >?                       >?

               . C))
               = $%'3 2" C
               #3"&,('#6 &' 3' (
               #3"&,('#6 &' '&# 4  9(F.: :9 


*           :3' (%' ("#$',%&  B 94$#%3'                                                                                     ))

               J. /%&  B 23 / &%  # <'# D#E 4%'3
               "3'# <  8. 2%B ='   %'3 D <" %
               '$ %'3 4#4% %3 D < %44#6% =B <'
               #%& $ // &'# 6 % % &#%& 23 / &% 
               %3 /"3 $ = $%'3 6 % %E #3'#

               . C))
               = $%'3 2" C
               #3"&,('#6 &' 3' (
               #3"&,('#6 &' '&# 4  9(F.: :9 


*           '#% %'B ("#$',%&  B 94$#%3'                                                                                   ))

               J. /%&  B 23 / &%  # <'# D#E 4%'3
               "3'# <  8. 2%B ='   %'3 D <" %
               '$ %'3 4#4% %3 D < %44#6% =B <'
               #%& $ // &'# 6 % % &#%& 23 / &% 
               %3 /"3 $ = $%'3 6 % %E #3'#

               . C))
               = $%'3 2" C
               #3"&,('#6 &' 3' (
               #3"&,('#6 &' '&# 4  9(F.: :9 


           1'% '#3'               ''  ('#6 &'                                                                                                

               :"%#%''3 1  2"2 >  +                                '3?

                %3           '3       %B %'

               ,,  ,, >)-                                  '3? %'
               C*
               ,,  ,, >)-                                  '3? %'
               C*-+
               ,,  ,,* >)-                                  '3? %'
               C-
                "'3 




 '#!+!+'*+!                                                                                                                $$ ,#+-
                                                                                                                               67897:13 ; %
                                                                                                                                ,# - '$!
                                                 %                                                          %        
  + ,
                                      *  -                                                                                             +
                  

: :9 . 

                                                       &(                     "                           
  > ?                                                            > ?                           >?        > ?     >?                     >?
               ,,*  ,,- >*) '3? %'
               C-
               ,,-  ,, >)- '3? %'
               C-*
                2" C))**>4  8 ' '2?
               ,,
               #3"&,('#6 &' 3' (
               #3"&,('#6 &' '&# 4  9(F.: :9 


           :3' (%'                ''  ('#6 &'                                                                                             

               :"%#%''3 1  2"2 >                                  '3?

                %3           '3       %B %'

               ,,  ,, >) '3? %'
               C-
               ,,  ,, >) '3? %'
               C*
               ,,  ,,* >) '3? %'
               C
               ,,*  ,,- >) '3? %'
               C**+
               ,,-  ,, >) '3? %'
               C*+*
                2" C*+)-)-->4  8 ' '2?
               ,,
               #3"&,('#6 &' 3' (
               #3"&,('#6 &' '&# 4  9(F.: :9 


           '#% %'B                  ''  ('#6 &'                                                                                         

               :"%#%''3 1  2"2 >                                  '3?

                %3           '3       %B %'

               ,,  ,, >)                                  '3? %'
               C-
               ,,  ,, >)                                  '3? %'
               C*
               ,,  ,,* >)                                  '3? %'
               C
               ,,*  ,,- >)                                  '3? %'
               C**+
               ,,-  ,, >)                                  '3? %'
                "'3 




 '#!+!+'*+!                                                                                                                $$ ,#+-
                                                                                                                               67897:13 ; %
                                                                                                                                ,# - '$!
                                                 %                                                %        
  + ,
                                      *  -                                                                                   +
                  

: :9 . 

                                                       &(           "                           
  > ?                                                            > ?                 >?        > ?     >?                     >?
               C*+*
                2" C*+)-)-->4  8 ' '2?
               ,,
               #3"&,('#6 &' 3' (
               #3"&,('#6 &' '&# 4  9(F.: :9 


           1'% '#3' ''  ('#6 &'                                                                                                    
                =6' :"%#%''3 1  2"2 %'
               >+ ='3?

               ,,  ,, >) '3? C+
               ,,  ,, >) '3? C++
               ,,  ,,* >) '3? C+
               ,,*  ,,- >)- '3? C+*
               ,,-  ,, >) '3? C+-
                2" C)+)>4  8 ' '2?
               ,,
               #3"&,('#6 &' 3' (
               #3"&,('#6 &' '&# 4  9(F.: :9 


           :3' (%' ''  ('#6 &'                                                                                                  
                =6' :"%#%''3 1  2"2 %'
               >* ='3?

               ,,  ,, >) '3? C*-
               ,,  ,, >) '3? C*-
               ,,  ,,* >) '3? C****
               ,,*  ,,- >) '3? C*-*
               ,,-  ,, >) '3? C*-
                2" C)-)>4  8 ' '2?
               ,,
               #3"&,('#6 &' 3' (
               #3"&,('#6 &' '&# 4  9(F.: :9 


           '#% %'B ''  ('#6 &'                                                                                                
                =6' :"%#%''3 1  2"2 %'
               >* ='3?

               ,,  ,, >) '3? C*-
               ,,  ,, >) '3? C*-
               ,,  ,,* >) '3? C****
               ,,*  ,,- >) '3? C*-*
               ,,-  ,, >) '3? C*-
                2" C)-)>4  8 ' '2?
                "'3 




 '#!+!+'*+!                                                                                                      $$ ,#+-
                                                                                                                     67897:13 ; %
                                                                                                                      ,# - '$!
                                                 %                                                %        
  + ,
                                      *  -                                                                                   +
                  

: :9 . 

                                                       &(           "                           
  > ?                                                            > ?                 >?        > ?     >?                     >?
               ,,
               #3"&,('#6 &' 3' (
               #3"&,('#6 &' '&# 4  9(F.: :9 


+           1'% '#3' % (% %#B,#%4#%                                                                                     
               :"%#3 "#

               "#B %'
               C**-

               . ) <"# 4'# B'%#
                2" C*)*-)>4  8 ' '2?
               ,,
               #3"&,('#6 &' 3' (
               #3"&,('#6 &' '&# 4  9(F.: :9 


+           :3' (%' % (% %#B,#%4#%                                                                                   
               :"%#3 "#

               "#B %'
               C**-

               . ) <"# 4'# B'%#
                2" C*)*-)>4  8 ' '2?
               ,,
               #3"&,('#6 &' 3' (
               #3"&,('#6 &' '&# 4  9(F.: :9 


+           '#% %'B % (% %#B,#%4#%                                                                                 
               :"%#3 "#

               "#B %'
               C**-

               . ) <"# 4'# B'%#
                2" C*)*-)>4  8 ' '2?
               ,,
               #3"&,('#6 &' 3' (
               #3"&,('#6 &' '&# 4  9(F.: :9 


           1'% '#3' '% '' #E #$#%2                                                                                                  
               %' C '# %B '# '% ''

                "'3 




 '#!+!+'*+!                                                                                                      $$ ,#+-
                                                                                                                     67897:13 ; %
                                                                                                                      ,# - '$!
                                                 %                                                %        
  + ,
                                      *  -                                                                       +            +
                  

: :9 . 

                                                       &(           "                           
  > ?                                                            > ?                 >?        > ?     >?                     >?
               . ) 3%B
                2" C)>4  8 ' '2?
               ,,
               #3"&,('#6 &' 3' (
               #3"&,('#6 &' '&# 4  9(F.: :9 


           :3' (%' '% '' #E #$#%2                                                                                                
               %' C '# %B '# '% ''

               . ) 3%B
                2" C)>4  8 ' '2?
               ,,
               #3"&,('#6 &' 3' (
               #3"&,('#6 &' '&# 4  9(F.: :9 


           '#% %'B '% ''                           #E #$#%2                                                                    
               %' C '# %B '#                           '% ''

               . ) 3%B
                2" C)>4  8 ' '2?
               ,,
               #3"&,('#6 &' 3' (
               #3"&,('#6 &' '&# 4  9(F.: :9 


           1'% '#3' ("#$',%&  B 94$#%3'J                                                                                             
               . C))

               J. /%&  B 23 / &%  # <'# D#E 4%'3
               "3'# <  8. 2%B ='   %'3 D <" %
               '$ %'3 4#4% %3 D < %44#6% =B <'
               #%& $ // &'# 6 % % &#%& 23 / &% 
               %3 /"3 $ = $%'3 6 % %E #3'#
                2" C))>4  8 ' '2?
               ,,
               #3"&,('#6 &' 3' (
               #3"&,('#6 &' '&# 4  9(F.: :9 


           :3' (%' ("#$',%&  B 94$#%3'J                                                                                           
               . C))

               J. /%&  B 23 / &%  # <'# D#E 4%'3
               "3'# <  8. 2%B ='   %'3 D <" %
               '$ %'3 4#4% %3 D < %44#6% =B <'
                "'3 




 '#!+!+'*+!                                                                                                      $$ ,#+-
                                                                                                                     67897:13 ; %
                                                                                                                      ,# - '$!
                                                 %                                                %        
  + ,
                                      *  -                                                                                   +
                  

: :9 . 

                                                       &(           "                           
  > ?                                                            > ?                 >?        > ?     >?                     >?
               #%& $ // &'# 6 % % &#%& 23 / &% 
               %3 /"3 $ = $%'3 6 % %E #3'#
                2" C))>4  8 ' '2?
               ,,
               #3"&,('#6 &' 3' (
               #3"&,('#6 &' '&# 4  9(F.: :9 


           '#% %'B ("#$',%&  B 94$#%3'J                                                                                         
               . C))

               J. /%&  B 23 / &%  # <'# D#E 4%'3
               "3'# <  8. 2%B ='   %'3 D <" %
               '$ %'3 4#4% %3 D < %44#6% =B <'
               #%& $ // &'# 6 % % &#%& 23 / &% 
               %3 /"3 $ = $%'3 6 % %E #3'#
                2" C))>4  8 ' '2?
               ,,
               #3"&,('#6 &' 3' (
               #3"&,('#6 &' '&# 4  9(F.: :9 


           1'% '#3' ''  ('#6 &'                                                                                                    
               :"%#%''3 1  2"2
               >  + '3?

               ,,  ,,+ >)- '3? C-
               ,,+  ,,+ >)- '3? C+
               ,,+  ,,+ >*) '3? C
               ,,+  ,,++ >)- '3? C
               ,,++  ,,+ >)- '3? C+
                2" C)-)->4  8 ' '2?
               ,,
               #3"&,('#6 &' 3' (
               #3"&,('#6 &' '&# 4  9(F.: :9 


           :3' (%' ''  ('#6 &'                                                                                                  
               :"%#%''3 1  2"2
               >   '3?

               ,,  ,,+ >) '3? C*+
               ,,+  ,,+ >) '3? C*-
               ,,+  ,,+ >) '3? C-
               ,,+  ,,++ >) '3? C-
               ,,++  ,,+ >) '3? C-+
                2" C-)-)+>4  8 ' '2?
                "'3 




 '#!+!+'*+!                                                                                                      $$ ,#+-
                                                                                                                     67897:13 ; %
                                                                                                                      ,# - '$!
                                                 %                                                         %        
  + ,
                                      *  -                                                                                            +
                  

: :9 . 

                                                       &(                    "                           
  > ?                                                            > ?                          >?        > ?     >?                     >?
               ,,
               #3"&,('#6 &' 3' (
               #3"&,('#6 &' '&# 4  9(F.: :9 


           '#% %'B ''  ('#6 &'                                                                                                         
               :"%#%''3 1  2"2
               >   '3?

               ,,  ,,+ >) '3? C*+
               ,,+  ,,+ >) '3? C*-
               ,,+  ,,+ >) '3? C-
               ,,+  ,,++ >) '3? C-
               ,,++  ,,+ >) '3? C-+
                2" C-)-)+>4  8 ' '2?
               ,,
               #3"&,('#6 &' 3' (
               #3"&,('#6 &' '&# 4  9(F.: :9 


           1'% '#3' ''  ('#6 &'                                                                                                             
                =6' :"%#%''3 1  2"2 %'
               >+ ='3?

               ,,  ,,+ >)                                 '3? C**
               ,,+  ,,+ >)                                 '3? C-
               ,,+  ,,+ >)-                                 '3? C-
               ,,+  ,,++ >)                                 '3? C*
               ,,++  ,,+ >)                                 '3? C*


                2" C)*)->4  8 ' '2?
               ,,
               #3"&,('#6 &' 3' (
               #3"&,('#6 &' '&# 4  9(F.: :9 


           :3' (%' ''  ('#6 &'                                                                                                           
                =6' :"%#%''3 1  2"2 %'
               >* ='3?

               ,,  ,,+ >) '3? C--
               ,,+  ,,+ >) '3? C-*
               ,,+  ,,+ >) '3? C--+
               ,,+  ,,++ >) '3? C-+--
               ,,++  ,,+ >) '3? C-
                2" C)*+)+>4  8 ' '2?
                "'3 




 '#!+!+'*+!                                                                                                               $$ ,#+-
                                                                                                                              67897:13 ; %
                                                                                                                               ,# - '$!
                                                 %                                                %        
  + ,
                                      *  -                                                                                   +
                  

: :9 . 

                                                       &(           "                           
  > ?                                                            > ?                 >?        > ?     >?                     >?
               ,,
               #3"&,('#6 &' 3' (
               #3"&,('#6 &' '&# 4  9(F.: :9 


           '#% %'B ''  '3 %B %'                                                                                              
                =6' :"%#%''3 1  2"2 %'
               >* ='3?

               ,,  ,,+ >) '3? C--
               ,,+  ,,+ >) '3? C-*
               ,,+  ,,+ >) '3? C--+
               ,,+  ,,++ >) '3? C-+--
               ,,++  ,,+ >) '3? C-
                2" C)*+)+>4  8 ' '2?
               ,,
               #3"&,('#6 &' 3' (
               #3"&,('#6 &' '&# 4  9(F.: :9 


+           1'% '#3' % (% %#B , #%4#%                                                                                   
               :"%#3 "#

               "#B %' C**- 4'# <"#

               . ) <"#
                2" C*)*-)>4  8 ' '2?
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U.S. Immigration and Customs Enforcement
Enforcement and Removal Operations

COVID-19 Pandemic Response Requirements



  ERO COVID-19 Pandemic Response Requirements (Version 1.0, April 10, 2020)   1
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ERO COVID-19 Pandemic Response Requirements (Version 1.0, April 10, 2020)                                                                       2
PURPOSE AND SCOPE

The U.S. Immigration and Customs Enforcement (ICE) Enforcement and Removal
Operations (ERO) Coronavirus Disease 2019 (COVID-19) Pandemic Response
Requirements (PRR) sets forth expectations and assists ICE detention facility operators to
sustain detention operations, while mitigating risk to the safety and well-being of detainees,
staff, contractors, visitors, and stakeholders due to COVID-19. Consistent with ICE’s
overall adjustments to its immigration enforcement posture,1 the ERO PRR builds upon
previously issued guidance and sets forth specific mandatory requirements expected to be
adopted by all detention facilities housing ICE detainees, as well as best practices for such
facilities, to ensure that detainees are appropriately housed and that available mitigation
measures are implemented during this unprecedented public health crisis. The ERO PRR
has been developed in consultation with the Centers for Disease Control and Prevention
(CDC) and is a dynamic document that will be updated as additional/revised information
and best practices become available.

INTRODUCTION

As the CDC has explained:

        COVID-19 is a communicable disease caused by a novel (new) coronavirus, SARS-
        CoV-2, that was first identified as the cause of an outbreak of respiratory illness that
        began in Wuhan Hubei Province, People’s Republic of China (China).

        COVID-19 appears to spread easily and sustainably within communities. The virus
        is thought to transfer primarily by person-to-person contact through respiratory
        droplets produced when an infected person coughs or sneezes; it may transfer
        through contact with surfaces or objects contaminated with these droplets. There is
        also evidence of asymptomatic transmission, in which an individual infected with
        COVID-19 is capable of spreading the virus to others before exhibiting symptoms.
        The ease of transmission presents a risk of a surge in hospitalizations for COVID-
        19, which would reduce available hospital capacity. Such a surge has been
        identified as a likely contributing factor to the high mortality rate for COVID-19
        cases in Italy and China.

        Symptoms include fever, cough, and shortness of breath, and typically appear 2-14
        days after exposure. Manifestations of severe disease include severe pneumonia,
        acute respiratory distress syndrome (ARDS), septic shock, and multi-organ failure.
        According to the [World Health Organization], approximately 3.4% of reported
        COVID-19 cases have resulted in death globally. This mortality rate is higher
        among older adults or those with compromised immune systems. Older adults and
        people who have severe chronic medical conditions like heart, lung or kidney
        disease are also at higher risk for more serious COVID-19 illness. Early data
        suggest older people are twice as likely to have serious COVID-19 illness.


1
  See, e.g., Attachment A, U.S. Immigration and Customs Enforcement, Updated ICE statement on COVID-
19 (Mar. 18, 2020), https://www.ice.gov/news/releases/updated-ice-statement-covid-19.


ERO COVID-19 Pandemic Response Requirements (Version 1.0, April 10, 2020)                              3
Notice of Order Under Sections 362 and 365 of the Public Health Service Act Suspending
Introduction of Certain Persons From Countries Where a Communicable Disease Exists, 85
Fed. Reg. 17060 (Mar. 26, 2020) (internal citations omitted).

Given the seriousness and pervasiveness of COVID-19, ICE is taking necessary and
prompt measures in response. ICE is providing guidance on the minimum measures
required for facilities housing ICE detainees to implement to ensure consistent practices
throughout its detention operations and the provision of medical care across the full
spectrum of detention facilities to mitigate the spread of COVID-19. The ICE detention
standards applicable to all facilities used to house ICE detainees have long required that
each such facility have written plans that address the management of infectious and
communicable diseases, including, but not limited to, testing, isolation, prevention,
treatment, and education. Those requirements include reporting and collaboration with
local or state health departments in accordance with state and local laws and
recommendations.2 The measures set forth in the PRR, allow ICE personnel and detention
providers to properly discharge their obligations under those standards in light of the
unique challenges posed by COVID-19.

OBJECTIVES
The ERO PRR is designed to establish consistency across ICE detention facilities by
establishing mandatory requirements and best practices all detention facilities housing ICE
detainees are expected to follow during the COVID-19 pandemic. Consistent with ICE
detention standards, all facilities housing ICE detainees are required to have a COVID-19
mitigation plan that meets the following four objectives:

    •   To protect employees, contractors, detainees, visitors to the facility, and
        stakeholders from exposure to the virus;
    •   To maintain essential functions and services at the facility throughout the
        pendency of the pandemic;
    •   To reduce movement and limit interaction of detainees with others outside their
        assigned housing units, as well as staff and others, and to promote social
        distancing within housing units; and
    •   To establish means to monitor, cohort, quarantine, and isolate the sick from the
        well.3

2
  See, e.g., Attachment B, ICE National Detention Standards 2019, Standard 4.3, Medical Care, at II.D.2 (p. 114),
https://www.ice.gov/doclib/detention-standards/2019/4_3.pdf; Attachment C, 2011 ICE Performance-Based National
Detention Standards (PBNDS), Revised 2016, Standard 4.3, Part V.C.1 (p. 261), https://www.ice.gov/doclib/detention-
standards/2011/4-3.pdf; Attachment D, 2008 ICE PBNDS, Standard 4-22, Medical Care, V.C.1 (pp. 5-6),
https://www.ice.gov/doclib/dro/detention-standards/pdf/medical_care.pdf.
3
 A cohort is a group of persons with a similar condition grouped or housed together for observation over a
period of time. Isolation and quarantine are public health practices used to protect the public from
exposure to individuals who have or may have a contagious disease. For purposes of this document, and as
defined by the CDC, quarantine as the separation of a person or group of people reasonably believed to
have been exposed to a communicable disease but not yet symptomatic, from others who have not been



ERO COVID-19 Pandemic Response Requirements (Version 1.0, April 10, 2020)                                      4
CONCEPT OF OPERATIONS

The ERO PRR is intended for use across ICE’s entire detention network, applying to all
facilities housing ICE detainees, including ICE-owned Service Processing Centers,
facilities operated by private vendors, and facilities operated by local government agencies
that have mixed populations of which ICE detainees comprise only a small fraction.


                                   DEDICATED ICE DETENTION FACILITIES


All ICE dedicated detention facilities4 must:

    •   Comply with the provisions of their relevant ICE contract or service agreement.
    •   Comply with the ICE national detention standards applicable to the facility,
        generally the Performance-Based National Detention Standards 2011 (PBNDS
        2011).
    •   Comply with the CDC’s Interim Guidance on Management of Coronavirus Disease
        2019 (COVID-19) in Correctional and Detention Facilities (Attachment E).
    •   Follow ICE’s March 27, 2020 Memorandum to Detention Wardens and
        Superintendents on COVID-19 Action Plan Revision 1, and subsequent updates
        (Attachment F).
    •   Report all confirmed and suspected COVID-19 cases to the local ERO Field Office
        Director (or designee), Field Medical Coordinator, and local health department
        immediately.
    •   Notify both the local ERO Field Office Director (or designee) and the Field
        Medical Coordinator as soon as practicable, but in no case more than 12 hours after
        identifying any detainee who meets the CDC’s identified populations potentially
        being at higher-risk for serious illness from COVID-19, including:
         o People aged 65 and older
         o People of all ages with underlying medical conditions, particularly if not well
           controlled, including:
                 ▪    People with chronic lung disease or moderate to severe asthma
                 ▪    People who have serious heart conditions
                 ▪    People who are immunocompromised



exposed, to prevent the possible spread of the communicable disease. For purposes of this document, and
as defined by the CDC, isolation as the separation of a person or group of people known or reasonably
believed to be infected with a communicable disease and potentially infectious from others to prevent the
spread of the communicable disease.
4
 Dedicated detention facilities are facilities that house only ICE detainees. Dedicated facilities may be ICE-owned
Service Processing Centers, privately owned Contract Detention Facilities, or facilities operated by state or local
governments that hold no other detention populations except ICE detainees.


ERO COVID-19 Pandemic Response Requirements (Version 1.0, April 10, 2020)                                             5
                      •  Many conditions can cause a person to be immunocompromised,
                         including cancer treatment, smoking, bone marrow or organ
                         transplantation, immune deficiencies, poorly controlled HIV or
                         AIDS, and prolonged use of corticosteroids and other immune
                         weakening medications
                ▪   People with severe obesity (body mass index [BMI] of 40 or higher)
                ▪   People with diabetes
                ▪   People with chronic kidney disease undergoing dialysis
                ▪   People with liver disease

Notification shall be made via e-mail from the facility’s Health Services Administrator
(HSA) (or equivalent) and contain the following subject line for ease of identification:
“Notification of COVID-19 High Risk Detainee (A-Number).” At a minimum the HSA
will provide the following information:
  •   Detainee name
  •   Detention location
  •   Current medical issues as well as medications currently prescribed
  •   Facility medical Point of Contact (POC) and phone number


                             NON-DEDICATED ICE DETENTION FACILITIES


All non-dedicated detention facilities and local jails housing ICE detainees must:

  •   Comply with the provisions of their relevant ICE contract or service agreement.
  •   Comply with the ICE national detention standards applicable to the facility,
      generally PBNDS 2011.
  •   Comply with the CDC Interim Guidance on Management of Coronavirus Disease
      2019 (COVID-19) in Correctional and Detention Facilities.
  •   Report all confirmed and suspected COVID-19 cases to the local ERO Field Office
      Director (or designee), Field Medical Coordinator, and local health department
      immediately.
  •   Notify both the ERO Field Office Director (or designee) and Field Medical
      Coordinator as soon as practicable, but in no case more than 12 hours after
      identifying any detainee who meets the CDC’s identified populations potentially
      being at higher-risk for serious illness from COVID-19, including:
        o People aged 65 and older
        o People of all ages with underlying medical conditions, particularly if not well
          controlled, including:
                ▪   People with chronic lung disease or moderate to severe asthma
                ▪   People who have serious heart conditions
                ▪   People who are immunocompromised



ERO COVID-19 Pandemic Response Requirements (Version 1.0, April 10, 2020)                   6
                         •  Many conditions can cause a person to be immunocompromised,
                            including cancer treatment, smoking, bone marrow or organ
                            transplantation, immune deficiencies, poorly controlled HIV or
                            AIDS, and prolonged use of corticosteroids and other immune
                            weakening medications
                   ▪   People with severe obesity (body mass index [BMI] of 40 or higher)
                   ▪   People with diabetes
                   ▪   People with chronic kidney disease undergoing dialysis
                   ▪   People with liver disease

Notification should be made via e-mail from the facility’s HSA (or equivalent) and
should contain the following subject line for ease of identification: “Notification of
COVID-19 High Risk Detainee (A-Number).” Other standardized means of
communicating this information to ICE are acceptable. At a minimum the HSA will
provide the following information:
  •       Detainee name
  •       Detention location
  •       Current medical issues as well as medications currently prescribed
  •       Facility medical POC and phone number


                                  ALL FACILITIES HOUSING ICE DETAINEES


In addition to the specific measures listed above, all detention facilities housing ICE detainees
must also comply with the following:

PREPAREDNESS

Administrators can plan and prepare for COVID-19 by ensuring that all persons in the
facility know the symptoms of COVID-19 and how to respond if they develop symptoms.
Other essential actions include developing contingency plans for reduced workforces due to
absences, coordinating with public health and correctional partners, and communicating
clearly with staff and detainees about these preparations and how they may temporarily
alter daily life.

➢ Develop information-sharing systems with partners.
      •    Identify points of contact in relevant state, local, tribal, and/or territorial public
           health department before cases develop.
      •    Communicate with other correctional and detention facilities in the same
           geographic area to share information including disease surveillance and
           absenteeism patterns among staff.

➢ Review existing pandemic, influenza, all-hazards, and disaster plans, and revise
  for COVID-19, and ensure that they meet the requirements of ICE’s detention
  standards.


ERO COVID-19 Pandemic Response Requirements (Version 1.0, April 10, 2020)                           7
➢ Offer the seasonal influenza vaccine to all detained persons (existing populations
  and new intakes) and staff throughout the influenza season, where possible.

➢ Staffing
    •   Review sick leave policies to ensure that staff can stay home when sick and
        determine which officials will have the authority to send symptomatic staff home.
        Staff who report for work with symptoms of COVID-19 must be sent home and
        advised to follow CDC-recommended steps for persons exhibiting COVID-19
        symptoms.
    •   Staff who test positive for COVID-19 must inform their workplace and personal
        contacts immediately. If a staff member has a confirmed COVID-19 infection,
        the relevant employers will inform other staff of their possible exposure to
        COVID-19 in the workplace consistent with any legal limitations on the sharing
        of such information. Exposed employees must then self-monitor for symptoms
        (i.e., fever, cough, or shortness of breath).
    •   Identify staff whose duties would allow them to work from home and allow them
        to work from home in order to promote social distancing and further reduce the
        risk of COVID-19 transmission.
    •   Determine minimum levels of staff in all categories required for the facility to
        function safely.
    •   Follow the Public Health Recommendations for Community-Related Exposure.5

➢ Supplies
    •   Ensure that sufficient stocks of hygiene supplies (soap, hand sanitizer, tissues),
        personal protective equipment (PPE) (to include facemasks, N95 respirators, eye
        protection, disposable medical gloves, and disposable gowns/one-piece coveralls),
        and medical supplies (consistent with the healthcare capabilities of the facility)
        are on hand, and have a plan in place to restock as needed if COVID-19
        transmission occurs within the facility.
    •   Note that shortages of N95 respirators are anticipated during the COVID-19
        response. Based on local and regional situational analysis of PPE supplies, face
        masks should be used when the supply chain of N95 respirators cannot meet the
        demand.
    •   Follow COVID-19: Strategies for Optimizing the Supply of PPE.6
    •   Soiled PPE items should be disposed in leak-proof plastic bags that are tied at the
        top and not re-opened. Bags can be disposed of in the regular solid waste stream.



5
 Attachment G, Centers of Disease Control and Prevention, Public Health Recommendations for Community-Related
Exposure, https://www.cdc.gov/coronavirus/2019-ncov/php/public-health-recommendations.html (last visited Apr. 9,
2020).

6
 Attachment H, Centers for Disease Control and Prevention, Strategies to Optimize the Supply of PPE and Equipment,
https://www.cdc.gov/coronavirus/2019-ncov/hcp/ppe-strategy/ (last visited Apr. 9, 2020).


ERO COVID-19 Pandemic Response Requirements (Version 1.0, April 10, 2020)                                     8
    •   Cloth face coverings should be worn by detainees and staff (when PPE supply is
        limited) to help slow the spread of COVID-19. Cloth face masks should:

            •   fit snugly but comfortably against the side of the face
            •   be secured with ties or ear loops where possible or securely tied
            •   include multiple layers of fabric
            •   allow for breathing without restriction
            •   be able to be laundered and machine dried without damage or change to shape.

➢ Hygiene
    •   Reinforce healthy hygiene practices and provide and restock hygiene supplies
        throughout the facility, including in bathrooms, food preparation and dining areas,
        intake areas, visitor entries and exits, visitation rooms, common areas, medical,
        and staff-restricted areas (e.g., break rooms).
    •   Require all persons within the facility to cover their mouth and nose with their
        elbow (or ideally with a tissue) rather than with their hand when they cough or
        sneeze, and to throw all tissues in the trash immediately after use. Provide
        detainees and staff no-cost access to tissues and no-touch receptacles for disposal.
    •   Require all persons within the facility to maintain good hand hygiene by regularly
        washing their hands with soap and water for at least 20 seconds, especially after
        coughing, sneezing, or blowing their nose; after using the bathroom; before eating
        or preparing food; before taking medication; and after touching garbage.
    •   Provide detainees and staff no-cost, unlimited access to supplies for hand
        cleansing, including liquid soap, running water, hand drying machines or
        disposable paper towels, and no-touch trash receptacles.
    •   Provide alcohol-based hand sanitizer with at least 60% alcohol where permissible
        based on security restrictions.
    •   Require all persons within the facility to avoid touching their eyes, nose, or mouth
        without cleaning their hands first.
    •   Post signage throughout the facility reminding detained persons and staff to
        practice good hand hygiene and cough etiquette (printable materials for
        community-based settings can be found on the CDC website). Signage must be in
        English and Spanish, as well as any other common languages for the detainee
        population at the facility.
    •   Prohibit sharing of eating utensils, dishes, and cups.
    •   Prohibit non-essential personal contact such as handshakes, hugs, and high-fives.

➢ Cleaning/Disinfecting Practices




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    •   Adhere to CDC recommendations for cleaning and disinfection during the
        COVID-19 response.7
    •   Several times a day using household cleaners and Environmental Protection
        Agency-registered disinfectants, clean and disinfect surfaces and objects that are
        frequently touched, especially in common areas (e.g., doorknobs, light switches,
        sink handles, countertops, toilets, toilet handles, recreation equipment). The
        Environmental Protection Agency’s (EPA) list of certified cleaning products is
        located here.
    •   Staff should clean shared equipment several times per day and on a conclusion of
        use basis (e.g., radios, service weapons, keys, handcuffs).
    •   Ensure that transport vehicles are thoroughly cleaned after carrying a confirmed
        or suspected COVID-19 case.
    •   Facility leadership will ensure that there is adequate oversight and supervision of
        all individuals responsible for cleaning and disinfecting these areas.

CDC Recommended Cleaning Tips

Hard (Non-porous) Surfaces
    •   If surfaces are dirty, they should be cleaned using a detergent or soap and water
        prior to disinfection.
    •   For disinfection, most common EPA-registered household disinfectants should be
        effective.
             o A list of products that are EPA-approved for use against the virus that
               causes COVID-19 is available here. Follow the manufacturer’s
               instructions for all cleaning and disinfection products for concentration,
               application method and contact time, etc.
             o Additionally, diluted household bleach solutions (at least 1000ppm
               sodium hypochlorite) can be used if appropriate for the surface. Follow
               manufacturer’s instructions for application, ensuring a contact time of at
               least 1 minute, and allowing proper ventilation during and after
               application. Check to ensure the product is not past its expiration date.
               Never mix household bleach with ammonia or any other cleanser.
               Unexpired household bleach will be effective against coronaviruses when
               properly diluted.
                   ▪   Prepare a bleach solution by mixing:
                          •   5 tablespoons (1/3 cup) bleach per gallon of water or
                          •   4 teaspoons bleach per quart of water

Soft (Porous) Surfaces


7
 Attachment I, Centers for Disease Control and Prevention, Cleaning and Disinfection for Community Facilities,
https://www.cdc.gov/coronavirus/2019-ncov/community/organizations/cleaning-disinfection.html (last visited Apr. 9,
2020).

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    •    For soft (porous) surfaces such as carpeted floor, rugs, and drapes, remove visible
         contamination if present and clean with appropriate cleaners indicated for use on
         these surfaces. After cleaning:
             o If the items can be laundered, launder items in accordance with the
               manufacturer’s instructions using the warmest appropriate water setting
               for the items and then dry items completely.
             o Otherwise, use products that are EPA-approved for use against the virus
               that causes COVID-19 and that are suitable for porous surfaces.8

Electronics
    •    For electronics such as tablets, touch screens, keyboards, remote controls, and
         ATM machines, remove visible contamination if present.
             o Follow the manufacturer’s instructions for all cleaning and disinfection
               products.
             o Consider use of wipeable covers for electronics.
             o If no manufacturer guidance is available, consider the use of alcohol-based
               wipes or sprays containing at least 70% alcohol to disinfect touch screens.
               Dry surfaces thoroughly to avoid pooling of liquids.

Linens, Clothing, and Other Items That Go in the Laundry
    •    In order to minimize the possibility of dispersing virus through the air, do not
         shake dirty laundry.
    •    Wash items as appropriate in accordance with the manufacturer’s instructions. If
         possible, launder items using the warmest appropriate water setting for the items
         and dry items completely. Dirty laundry that has been in contact with an ill person
         can be washed with other people’s items.
    •    Clean and disinfect hampers or other carts for transporting laundry according to
         guidance above for hard or soft surfaces.

PREVENTION
Detention facilities can prevent introduction of COVID-19 from the community and
reduce transmission if it is already inside by reinforcing good hygiene practices among
incarcerated/detained persons, staff, and visitors (including increasing access to soap and
paper towels), intensifying cleaning/disinfection practices, and implementing social
distancing strategies.

Because many individuals infected with COVID-19 do not display symptoms, the virus
could be present in facilities before cases are identified. Both good hygiene practices and
social distancing are critical in preventing further transmission.


8
 Attachment J, U.S. Environmental Protection Agency, List N: Disinfectants for Use Against SARS-CoV-2,
https://www.epa.gov/pesticide-registration/list-n-disinfectants-use-against-sars-cov-2 (last visited Apr. 9, 2020).


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➢ Perform pre-intake screening for all staff and new entrants for symptoms of
  COVID-19.
    Screening should take place before staff and new intakes enter the facility or just
    inside the facility, where practicable. For new admissions, this should occur before
    beginning the intake process, in order to identify and immediately isolate any
    detainee with symptoms before the individual comingles with others or is placed in
    the general population. This should include temperature screening of all staff and
    new entrants, as well as a verbal symptoms check.
    •   Verbal screening for symptoms of COVID-19 and contact with COVID-19 cases should
        include the following questions based on Interim Guidance: Managing COVID-19 in
        Correctional/Detention Facilities:
            o Today or in the past 24 hours, have you had any of the following symptoms?
                    ▪   Fever, felt feverish, or had chills?
                    ▪   Cough?
                    ▪   Difficulty breathing?
            o In the past 14 days, have you had contact with a person known to be
              infected with COVID-19 where you were not wearing the recommended
              proper PPE?
    •   If staff have symptoms of COVID-19 (fever, cough, shortness of breath): they
        must be denied access to the facility.
    •   If any new intake has symptoms of COVID-19:
            o Require the individual to wear a face mask.
            o Ensure that staff interacting with the symptomatic individual wears
              recommended PPE.
            o Isolate the individual and refer to healthcare staff for further evaluation.
            o Facilities without onsite healthcare staff should contact their state, local,
              tribal, and/or territorial health department to coordinate effective isolation
              and necessary medical care.
    •   If an individual is a close contact of a known COVID-19 case or has traveled to
        an affected area (but has no COVID-19 symptoms), quarantine the individual and
        monitor for symptoms two times per day for 14 days.

➢ Visitation
    •   During suspended (social) or modified (legal) visitation programs, provide access
        to virtual visitation options where available. When not possible, verbally screen
        all visitors on entry for symptoms of COVID-19 and perform temperature checks,
        when possible. ICE continues to explore opportunities to enhance attorney access
        while legal visits are being impacted. For facilities at which immigration hearings
        are conducted or where detainees are otherwise held who have cases pending
        immigration proceedings, this may include:



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            o Adding all immigration attorneys of record to the Talton Pro-bono
              platform.
            o Requiring facilities to establish a process for detainees/immigration
              attorneys to schedule appointments and facilitate the calls.
            o Leveraging technology (e.g., tablets, smartphones) to facilitate
              attorney/client communication.
            o Working with the various detention contractors and telephone service
              providers to ensure that all detainees receive some number of free calls per
              week.
    •   Communicate with the public about any changes to facility operations, including
        visitation programs. Facilities are encouraged to prohibit or, at a minimum,
        significantly adopt restricted visitation programs, and to suspend all volunteer
        work assignments for detainees assigned to food service, and other assignments
        where applicable.

➢ Where possible, restrict transfers of detained non-ICE populations to and from
  other jurisdictions and facilities unless necessary for medical evaluation,
  isolation/quarantine, clinical care, or extenuating security concerns.

➢ Consider suspending work release programs for inmates at shared facilities to
  reduce overall risk of introduction and transmission of COVID-19 into the
  facility.

➢ When feasible and consistent with security priorities, encourage staff to maintain
  a distance greater than six feet from an individual that appears feverish or ill
  and/or with respiratory symptoms while interviewing, escorting, or interacting in
  other ways, unless wearing PPE.

➢ Additional Measures to Facilitate Social Distancing

    •   Although strict social distancing may not be possible in congregate settings such
        as detention facilities, all facilities housing ICE detainees should implement the
        following measures to the extent practicable:
            o Efforts should be made to reduce the population to approximately 75% of
              capacity.
            o Where detainee populations are such that such cells are available, to the
              extent possible, house detainees in individual rooms.
            o Recommend that detainees sharing sleeping quarters sleep “head-to-foot.”
            o Extend recreation, law library, and meal hours and stagger detainee access
              to the same in order to limit the number of interactions between detainees
              from other housing units.
            o Staff and detainees should be directed to avoid congregating in groups of
              10 or more, employing social distancing strategies at all times.



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            o Whenever possible, all staff and detainees should maintain a distance of
              six feet from one another.
            o If practicable, beds in housing units should be rearranged to allow for
              sufficient separation during sleeping hours.
MANAGEMENT

If there has been a suspected COVID-19 case inside the facility (among
incarcerated/detained persons, staff, or visitors who have recently been inside), begin
implementing Management strategies while test results are pending. Essential
Management strategies include placing cases and individuals with symptoms under
medical isolation, quarantining their close contacts, and facilitating necessary medical
care, while observing relevant infection control and environmental disinfection protocols
and wearing recommended PPE.

ICE Custody Review for Potentially High-Risk Detainees

Upon being informed of a detainee who may potentially be at higher risk for serious
illness from exposure to COVID-19, ERO will review the case to determine whether
continued detention is appropriate.9 ICE will make such custody determinations on a
case-by-case basis, pursuant to the applicable legal standards, with due consideration of
the public health considerations implicated.

➢ Considerable effort should be made to quarantine all new entrants for 14 days
  before they enter the general population.
    •   To do this, facilities should consider cohorting daily intakes; two days of new
        intakes, or multiple days on new intakes, in designated areas prior to placement
        into the general population. Given the significant variance in facility attributes and
        characteristics, cohorting options and capabilities will differ across the various
        detention facilities housing ICE detainees. ICE encourages all facilities to adopt
        the most effective cohorting methods practicable based on the individual facility
        characteristics taking into account the number new intakes anticipated per day.

➢ For suspected or confirmed COVID-19 cases:
    •   Isolate the individual immediately in a separate environment from other
        individuals. Facilities should make every possible effort to isolate persons
        individually. Each isolated individual should be assigned his or her own housing
        space and bathroom where possible. Cohorting should only be practiced if there
        are no other available options. Only individuals who are laboratory-confirmed
        COVID-19 cases should be isolated as a cohort. Do not cohort confirmed cases
        with suspected cases or case contacts.
    •   Ensure that the individual is always wearing a face mask (if it does not restrict
        breathing) when outside of the isolation space, and whenever another individual

9
 Attachment K, Assistant Director Peter Berg, Enforcement and Removal Operations, Updated Guidance: COVID-19
Detained Docket Review (Apr. 4, 2020).


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        enters the isolation room. Masks should be changed at least daily, and when
        visibly soiled or wet.

    •   If the number of confirmed cases exceeds the number of individual isolation
        spaces available in the facility, then ICE must be promptly notified so that transfer
        to other facilities, transfers to hospitals, or release can be coordinated
        immediately. Until such time as transfer or release is arranged, the facility must
        be especially mindful of cases that are at higher risk of severe illness from
        COVID-19. Ideally, ill detainees should not be cohorted with other infected
        individuals. If cohorting of ill detainees is unavoidable, make all possible
        accommodations until transfer occurs to prevent transmission of other infectious
        diseases to the higher-risk individual (For example, allocate more space for a
        higher-risk individual within a shared isolation room).

    •   Review the CDC’s preferred method of medically isolating COVID-19 cases here
        depending on the space available in a particular facility. In order of preference,
        individuals under medical isolation should be housed:
            o Separately, in single cells with solid walls (i.e., not bars) and solid doors
              that close fully.
            o Separately, in single cells with solid walls but without solid doors.
            o As a cohort, in a large, well-ventilated cell with solid walls and a solid
              door that closes fully. Employ social distancing strategies related to
              housing in the Prevention section above.
            o As a cohort, in a large, well-ventilated cell with solid walls but without a
              solid door. Employ social distancing strategies related to housing in the
              Prevention section above.
            o As a cohort, in single cells without solid walls or solid doors (i.e., cells
              enclosed entirely with bars), preferably with an empty cell between
              occupied cells. (Although individuals are in single cells in this scenario,
              the airflow between cells essentially makes it a cohort arrangement in the
              context of COVID-19.)
            o As a cohort, in multi-person cells without solid walls or solid doors (i.e.,
              cells enclosed entirely with bars), preferably with an empty cell between
              occupied cells. Employ social distancing strategies related to housing in
              the Prevention section above.

•   Maintain isolation until all the CDC criteria have been met:
            o The individual has been free from fever for 72 hours without the use of
              fever-reducing medications.
            o The individual’s other symptoms have improved (e.g., cough, shortness of
              breath).
            o The individual has tested negative in at least two consecutive respiratory
              specimens collected at least 24 hours apart.


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            o At least 7 days have passed since the date of the individual’s first positive
              COVID-19 test and he or she has had no subsequent illness.

    •   Meals should be provided to COVID-19 cases in their isolation rooms. Isolated
        cases should throw disposable food service items in the trash in their isolation
        room. Non-disposable food service items should be handled with gloves and
        washed with hot water or in a dishwasher. Individuals handling used food service
        items must clean their hands after removing gloves.
    •   Laundry from a COVID-19 case can be washed with other individuals’ laundry.
            o Individuals handling laundry from COVID-19 cases should wear
              disposable gloves, discard gloves after each use, and clean their hands
              after handling.
            o Do not shake dirty laundry. This will minimize the possibility of
              dispersing the virus through the air.
            o Launder items as appropriate in accordance with the manufacturer’s
              instructions. If possible, launder items using the warmest appropriate
              water setting for the items and dry items completely.
            o Clean and disinfect clothes hampers according to guidance above for
              surfaces. If permissible, consider using a bag liner that is either disposable
              or can be laundered.




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                                           ATTACHMENTS

     ATTACHMENT                                        DOCUMENT NAME
       LETTER                                           AND CITATION

            A               U.S. Immigration and Customs Enforcement, Updated ICE statement
                            on COVID-19 (Mar. 18, 2020),
                            https://www.ice.gov/news/releases/updated-ice-statement-covid-19.

            B               ICE National Detention Standards 2019, Standard 4.3, Medical Care,
                            https://www.ice.gov/doclib/detention-standards/2019/4_3.pdf.

            C               2011 ICE Performance-Based National Detention Standards, Revised
                            2016, Standard 4.3, https://www.ice.gov/doclib/detention-
                            standards/2011/4-3.pdf.

            D               2008 ICE Performance-Based National Detention Standards,
                            Standard 4-22, Medical Care,
                            https://www.ice.gov/doclib/dro/detention-
                            standards/pdf/medical_care.pdf.

            E               Centers of Disease Control and Prevention, Interim Guidance on
                            Management of Coronavirus Disease 2019 (COVID-19) in
                            Correctional and Detention Facilities (Mar. 23, 2020),
                            https://www.cdc.gov/coronavirus/2019-ncov/downloads/guidance-
                            correctional-detention.pdf.

            F               Memorandum from Executive Associate Director Enrique Lucero,
                            Enforcement and Removal Operations, Memorandum on
                            Coronavirus 2019 (COVID-19) Action Plan, Revision 1 (Mar. 27.
                            2020).

            G               Centers of Disease Control and Prevention, Public Health
                            Recommendations for Community-Related Exposure,
                            https://www.cdc.gov/coronavirus/2019-ncov/php/public-health-
                            recommendations.html (last visited Apr. 9, 2020).

            H               Centers for Disease Control and Prevention, Strategies to Optimize
                            the Supply of PPE and Equipment,
                            https://www.cdc.gov/coronavirus/2019-ncov/hcp/ppe-strategy/ (last
                            visited Apr. 9, 2020).

             I              Centers for Disease Control and Prevention, Cleaning and
                            Disinfection for Community Facilities,
                            https://www.cdc.gov/coronavirus/2019-
                            ncov/community/organizations/cleaning-disinfection.html (last
                            visited Apr. 9, 2020).


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             J              U.S. Environmental Protection Agency, List N: Disinfectants for Use
                            Against SARS-CoV-2, https://www.epa.gov/pesticide-registration/list-
                            n-disinfectants-use-against-sars-cov-2 (last visited Apr. 9, 2020).

            K               Assistant Director Peter Berg, Enforcement and Removal Operations,
                            Updated Guidance: COVID-19 Detained Docket Review (Apr. 4,
                            2020).




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